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    Court Naae; UNITED STATES DISTRICT COURT
    Division: 3
    Receipt Hueber: 34663042139
    Cashier ID: Ibreeden
    Transaction Date: 11/26/2016
    Payer NaBe: JUSTIN tJENAR JONES
    CIVIL FILING FEE
     For; JUSTIN LEHAR JONES
     Anount:         $406.00

    ROHEY ORDeT"^
     Check/Roney Order Nuq: 16686761609
     Ant Tendered:   $400.00

    Total Due:       $406.00
    Total Tendered: $400.00
    Change Aat:      $0.00
    Case 83:18-cv-00623
